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United States District Court

SOUTHERN DISTRICT OF INDIANA

UNITED sTATES oF AMERICA
CRIMINAL COMPLAINT

V- CASE NUMBER; 1;13-mj-00092
COURTNEY WILSON
l, the undersigned complainant, being duly sworn, state the following is true and correct to the best of my
knowledge and belief. From between on or about July 7, 2017, and on or about July 9, 2017, in Delaware County,

in the Southern District of lndiana defendant did,

Count l: Possession with lntent to Distribute a Controlled Substance, in violation of Title 21, United States Code,
Section 841 (a)(l )

Count 2: Possession of a Firearrn While in the Commission of a Drug Trafficking Offense, in violation of Title 18,
United Stated Code, Section 924(0)(1)(A)

l further state that l arn a Special Agent, and that this complaint is based on the following facts:

See attached AFFIDAVIT

Continued on the attached sheet and made a part hereof. 4 jj
H{On K. sacchini, FBI

January 29, 2018 at Indianapolis, lndiana
Date

 

Sworn to before me, and subscribed in my presence

 

  

/
Mark J. Dinsmore, U.S. Magistrate Judge 7 /
Name and Title of Judicial Officer Signature tydudic}él ficer

 

 

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AFFIDAVIT

I, Jon K. Sacchini, a Special Agent (SA) with the Federal Bureau of lnvestigation (FBI),
being duly sworn, hereby depose and state as follows:

l. Affiant: I, J on K. Sacchini, am an investigative or law enforcement officer Within
the meaning of Section 251()(7) of Title 18, United States Code, that is, an officer of the United
States who is empowered by law to conduct investigations of, and to make arrests for, offenses
enumerated in Section 2516 of Title 18, United States Code.

2. l have been employed as a Special Agent of the FBI since July 2014, and have been
assigned to the Indianapolis Field Office since graduation from the FBI Academy. While working l
in the Indianapolis Field Office, l have been assigned to the Gang and Criminal Enterprise Squad,
Which encompasses the FBI Safe Streets Gang Task Force (“SSTF”). Prior to my employment
with the FBI, l was employed as a Highway Patrolman with the Arizona Highway Patrol,
Department of Public Safety (“DPS”) for over six and a half years.

3. Information Provided: The statements in this affidavit are based on my personal
observations, my training and experience, my investigation of this matter, and information
obtained from other agents and witnesses Because this affidavit is being submitted for the limited
purpose of Securing a Criminal Complaint and Arrest Warrant, l have not included each and every
fact known to me concerning this investigation

4. Relief` Requested: l request the Court to issue a Criminal Complaint and Arrest
Warrant charging Courtney Wilson with possession with intent to distribute a controlled substance
in violation of Title 21, United States Code, Section 84l(a)(l) and possession of a firearm during
and in relation to a drug trafficking offense in violation of Title 18, United States Code, Section

924(¢).

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5. Background: ln early July 2017, members of the Delaware County Sheriff`s
Office Drug Unit (DCDU) learned that Courtney Wilson, a/k/a Courtney Cooper a/k/a Courtney
Cooper-Fox (hereafter “Wilson”) was supplying crack cocaine to a third party drug distributor.
Subsequent surveillance operations and local database records confirmed Wilson resided at l703
E. 14th Street, Muncie, Indiana 47302.

o. On July 7, 2017, DCDU investigators conducted a controlled buy of narcotics from
Wilson using a confidential human source (CHS). During the initial stages of the transaction,
physical surveillance units observed Wilson walk out of an apartment located at 1703 E. 14th Street,
Muncie, lndiana, get into the driver’s seat of a gold Chevrolet Malibu bearing Indiana license plate
394NFS, and drive to a prearranged meeting location. Upon arrival, Wilson met with the CHS
and provided her/him with two separate baggies, each containing a crystal like substance.l Wilson
then briefly discussed drug pricing with the CHS before departing the meeting location and
returning to the 1703 E. 14th Street address as noted by surveillance units.

7. On July 9, 2017, an investigator conducting surveillance on 1703 E. 14th Street
observed Wilson arrive in the gold Malibu and park adjacent to the apartment. Wilson then walked
from the vehicle and entered the apartment. A short while later, an investigator continuing
surveillance on the apartment observed Wilson standing out in front of the apartment complex
with Eddie Wilson.2 An undercover officer later approached Wilson while she Was standing out
front and acted as though he was looking for a specific apartment within the complex. Wilson

responded she didn’t know the location of the apartment he was referring to but pointed to her own

 

l DCDU detectives field tested each substance and determined one to contain .Z grams of
methamphetamine and the other contained .8 grams of crack cocaine.

2 1703 E. 14“‘ Street, Apt. 12, was later identified from a leasing contract and Indiana BMV vehicle
registration returns as the address of record for Eddie Wilson. A law enforcement database query listed Eddie Wilson
as the spouse of Courtney Wilson. An Indiana BMV records check showed Courtney Cooper (Wilson) as listed at the
same address.

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apartment entrance and stated she lived in apartment #12. Based upon the controlled buy from
July 9, coupled with physical surveillance of Wilson coming and going from the target address
over the following two days, DCDU detectives then obtained an arrest warrant for Courtney
Wilson for dealing in methamphetamine and dealing in cocaine.3
8. Shortly before midnight on July 9, 2017, DCDU executed the arrest warrant at 1703
E. 14th Street, Apt. #12 once it was confirmed that Wilson was inside the residence. Upon entry,
a DCDU entry team member immediately identified Courtney Wilson standing in the front room
of the apartment As the arresting officer began issuing commands for Wilson to get on the
ground, the officer observed the handle of a handgun protruding from the bra Wilson was wearing.
Once Wilson was detained, the handgun was removed from her bra and identified as a Ruger .3 80
II, serial number 380083321.4 During a search for other occupants of the apartment, officers
found a glass jar containing plant material in the front room and two baggies of similar plant
material in the southeast bedroom in plain view. ln the northeast bedroom, a plate was found in
plain view that was coated in a white powdery substance.5
9. On July 10, 2017, shortly after she was taken into custody, Wilson was driven to
the Delaware County Sheriff’s Office where DCDU detectives conducted an interview with her.
After being advised of her custodial rights and then waiving those rights, Wilson advised there

was methamphetamine hidden in a box in one of the closets that may weigh as much as 10 grarns.

She also advised the powder on the plate found in the northeast bedroom was what she believed to

 

3 On July 09, 2017, an arrest warrant for Courtney Cooper-Fox, (Courtney Wilson a/k/a Courtney Cooper)
was issued by the Honorable Thomas Cannon Jr., Delaware County Circuit Court #5, docket number, 18C05-1701-
MC-OO3.

4 A firearms trace check is pending with ATF.

5 Field tests revealed the plant material to be 14 grams of marijuana and the white powdery substance to be
9.7 grams of cocaine.

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be crack cocaine.6 Later that morning, DCDU investigators executed a search warrant at 1703 E.
14th Street, Apt. #12.7 DCDU investigators located a lock box in the back bedroom closet. lnside
the lock box, investigators located several baggies of a clear rocklike substance weighing 70 .3
grams and testing positive for methamphetamine Also in the lock box was a plastic baggie
containing an off white powdery substance that weighed 12.3 grams and tested positive for
fentanyl. Another plastic baggie also found in the lock box weighed 5.4 grams and tested positive
for cocaine. ln the kitchen, investigators located a plastic bag containing nine (9) used syringes.
10. Conclusion: Based upon the foregoing, your affiant request this Court to issue an
Arrest Warrant and Criminal Complaint charging Courtney Wilson, a.k.a Courtney Cooper, with
possession with intent to distribute a controlled substance in violation of Title 21, United States
Code, Section 841(a)(1) and possession of a firearm while in the commission of a drug trafficking

offense in violation of Title 18, United Stated Code, Section 924(c)(l)(A).

 

 
  

   

Special Agent
Federal Bureau of Investigation

 

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Hon.`M rk J/. nsmore
United tates agistrate Judge

Southern Dis rict of Indiana

 

6 An audio-video recording of the interview was captured by DCDU detectives and provided to the case
agent.

7 On July 10, 2017, a search warrant for 1703 E. 14“‘ Street, Apt. #12, Muncie, Indiana, was issued by the
Honorable Thomas Cannon Jr, Delaware County Circuit Court #5, docket number, 18C05-1701-MC-003.

